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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                      Southern District
                                                    __________  DistrictofofNew York
                                                                             __________

                                                                         )
JONATHAN TORRES, JOSE ELEVAR CABRERA CUELLAR,                            )
WENDY ALEXANDRA MENDOZA CUELLAR, LUZ DERLY
PAEZ MARIN, and GERSON HERNANDEZ
                                                                         )
                                                                         )
                            Plaintiff(s)                                 )
                                                                         )
                                v.                                             Civil Action No. 25-cv-03927-JPO
                                                                         )
NANA'S COLOMBIAN BAKERY INC., NANA'S COLOMBIAN                           )
BAKERY MIDTOWN CORP., WILLIAM SIERRA, and MARIA                          )
CATALINA SIERRA,                                                         )
                                                                         )
                           Defendant(s)                                  )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Nana's Colombian Bakery Inc.               Nana's Colombian Bakery Midtown Corp.
                                           366 North St.                      366 North St.
                                           Middletown, NY 10940               Middletown, NY 10940

                                           William Sierra                     Maria Catalina Sierra
                                           c/o Nana's Colombian Bakery        c/o Nana's Colombian Bakery
                                           366 North St.                      366 North St.
                                           Middletown, NY 10940               Middletown, NY 10940

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Robert Wisniewski, Esq.
                                           17 State Street, Suite 820
                                           New York, NY 10004




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                   CLERK OF COURT

                   5/14/2025                                                               /s/ P. Canales
Date:
                                                                                               Signature of Clerk or Deputy Clerk
